       Case 4:19-cv-07123-PJH       Document 484      Filed 12/16/24    Page 1 of 4




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14   Platforms, Inc.
15                               UNITED STATES DISTRICT COURT
16                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
17                                      OAKLAND DIVISION
18    WHATSAPP LLC.
      and META PLATFORMS, INC.,         )             Case No. 4:19-cv-07123-PJH
19                                      )
                      Plaintiffs,       )             PLAINTIFFS’ OPPOSITION TO
20                                      )             DEFENDANTS’ ADMINISTRATIVE
             v.                         )             MOTION TO SHORTEN BRIEFING
21                                      )             SCHEDULE FOR DEFENDANTS’
      NSO GROUP TECHNOLOGIES LIMITED )                MOTION TO SUBSTITUTE EXPERT
22    and Q CYBER TECHNOLOGIES LIMITED, )             JOHN TOWN
                                        )
23                    Defendants.       )             Ctrm: 3
                                        )             Before the Honorable Phyllis J. Hamilton
24                                      )
                                        )             Action Filed: Oct. 29, 2019
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         Case 4:19-cv-07123-PJH         Document 484         Filed 12/16/24      Page 2 of 4




 1            Plaintiffs WhatsApp LLC and Meta Platforms, Inc. oppose the administrative motion of

 2   Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited (collectively,

 3   “NSO”) to shorten the briefing schedule for NSO’s motion to substitute its expert witness, Jay Town,

 4   for a new person, Joshua Minkler. Dkt. No. 481. An abbreviated briefing schedule would unfairly

 5   prejudice Plaintiffs in opposing NSO’s substitution motion, which, if granted, would itself prejudice

 6   Plaintiffs and cause significant and untenable changes to the case schedule.

 7            Under Civil Local Rule 6-3, a party seeking to shorten a briefing schedule must show, in a

 8   motion supported by a declaration, the “substantial harm or prejudice that would occur if the Court

 9   did not change the time.” N.D. Cal. Civ. L.R. 6-3(a). The moving party may not leave the Court “to

10   guess or read between the lines of [the moving party’s] briefs and declaration to suss out the prejudice

11   they might suffer.” Wilson v. Frito-Lay N. Am., Inc., 2015 WL 846546, at *2 (N.D. Cal. Feb. 25,

12   2015).    Here, NSO ignores Civil Local Rule 6-3 and fails to attach any declaration to its

13   administrative motion, let alone a declaration with “substantive averments of fact to support or

14   address why good cause exists to shorten the briefing schedule.” Eisner v. Meta Platforms, Inc.,

15   2024 WL 2112894, at *2 (N.D. Cal. Apr. 29, 2024). Instead, NSO asserts that the expedited schedule

16   is necessary to avoid “any negative impact on the current case schedule.” Dkt. No. 481 at 1.

17            Any “negative impact on the current case schedule,” however, stems from NSO’s motion to

18   substitute and delay in raising the issues it seeks to address (as further explained below). That

19   prejudice would occur irrespective of whether or not Plaintiffs oppose NSO’s motion on an expedited

20   basis. NSO filed its motion to substitute five days before the close of expert discovery on December

21   16. As of today (December 16), Plaintiffs have yet to receive any Rule 26 disclosure or expert report

22   from NSO’s proposed new expert (Mr. Minkler). 1 Any deposition of Mr. Minkler would necessarily

23   take place weeks after the close of expert discovery, given the inevitable difficulty of scheduling

24   another expert deposition over the holidays in an already tight case schedule. A deposition of Mr.

25   Minkler would also demand corresponding changes to the Court-ordered deadlines for Plaintiffs’

26   Daubert motions (currently due January 9) and motions in limine (currently due January 16). Such

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         NSO represented to the Court that it anticipated producing Mr. Minker’s expert report by
         December 13. Dkt. No. 480-1 ¶ 6 (“Defendants anticipate producing Mr. Minkler’s Rule 26
28       disclosure by December 13, 2024.”). NSO did not meet that timing.
                                                          1
     PLS.’ OPP. TO DEFS.’ MOT. TO SHORTEN BRIEFING SCHEDULE FOR DEFS.’ MOT. TO SUBSTITUTE EXPERT JOHN TOWN
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH           Document 484         Filed 12/16/24      Page 3 of 4




 1   changes would necessarily cut into Plaintiffs’ time to prepare for trial, which is scheduled to begin

 2   on March 3, 2025.

 3          NSO asserts that “[s]even days is more than adequate for Plaintiffs to prepare an opposition

 4   to NSO’s Motion to Substitute,” Dkt. No. 481 at 1, but these seven days are the same days during

 5   which Plaintiffs’ counsel had to prepare for and take the deposition of NSO’s main technical expert,

 6   Terrence McGraw, among other pretrial preparation. Decl. of Gina M. Cora in Supp. of Pls.’ Opp.

 7   (“Cora Decl.”) ¶ 7. Plaintiffs’ counsel explained this issue to NSO’s counsel and also explained that

 8   Plaintiffs’ counsel were contending with other pre-existing work commitments and illness. Id.

 9   Nonetheless, Plaintiffs offered to file their opposition to NSO’s motion to substitute on December 20

10   (rather than the requested December 18). Id. NSO ignores all of this.

11          NSO also ignores that it could have filed its motion to substitute sooner and thus avoid seeking

12   to shorten Plaintiffs’ opposition time. NSO had notice of Mr. Town’s withdrawal since November

13   7, see Dkt. No. 480-1 ¶ 3; did not inform Plaintiffs’ counsel of its intention to move to substitute Mr.

14   Town for Mr. Minkler until November 27, id. ¶ 7; had notice that Plaintiffs would oppose the

15   substitution motion since December 6, see Cora Decl. ¶ 4; and first raised its desire to expedite the

16   briefing schedule on December 11, id. ¶ 6, which was the same day NSO filed its motions to substitute

17   and to shorten the briefing schedule, see Dkt. No. 480. NSO, moreover, filed its motions the day

18   after it took the deposition of Plaintiffs’ main technical expert on December 10, Cora Decl. ¶ 5,

19   presumably because that timing suited NSO. NSO should not be able to force Plaintiffs to respond

20   on an abbreviated basis in order to solve a “problem of [its] own making.” Lucas v. Hertz Corp.,

21   2012 WL 3638568, at *5 (N.D. Cal. Aug. 22, 2012) (denying motion to shorten briefing schedule).

22          Plaintiffs respectfully request that the Court deny NSO’s administrative motion.

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     PLS.’ OPP. TO DEFS.’ MOT. TO SHORTEN BRIEFING SCHEDULE FOR DEFS.’ MOT. TO SUBSTITUTE EXPERT JOHN TOWN
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH           Document 484         Filed 12/16/24      Page 4 of 4




 1    Dated: December 16, 2024                      Respectfully Submitted,

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                                                    DAVIS POLK & WARDWELL LLP
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 4                                                  By: /s/ Gina Cora
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19                                                        Attorneys for Plaintiffs WhatsApp LLC and
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